IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

CASE NO.: 21-CR-00086-IMC

 

UNITED STATES OF AMERICA,
Plaintiff,
VS. .
MICHAEL HAAK,
Defendant,
/
SENTENCING MEMORANDUM

 

The Defendant, Michael Haak, by and through the undersigned counsel, hereby offers the
following Sentencing Memorandum for this Court’s consideration. An initial appearance, plea
and sentencing is scheduled for May 28, 2021, at 1:30 P.M. Pursuant to an agreement between
the parties, with the Court’s consent, this matter will be handled virtually. This Memorandum is
being filed. pursuant to Rule 32 of the Federal Rules of Criminal Procedure! |

INTRODUCTION |

On May 28, 2021, Michael Haak, will enter a plea of guilty to a one-count Information ~ .
_ charging him with the Class B Misdemeanor violation of committing a lewd, indecent or obscure
act in violation of D.C. Code Section 22.1312 Gormerly D.C. Code Section 22-11 12), as.
assimilated by 49 U.S.C. §46506(2). The facts regarding this offense have been presented to the

‘Court in a written Plea Agreement. This misdemeanor offense is punishable by a maximum of

 

w

1 This Memorandum is to address the unique nature of the pending misdemeanor charge and does not address any
issues, factual or legal, that may be raised in any civil action.
US.A. ¥. Haak, Michael

Case No. 21-CR-00036-JMC

90 days in jail, followed by up to one year on supervised release, as well as the applicable fine
and a twenty five dollar special assessment.

Although not binding on the Court, the Government has agreed to recommend a period of
probation and has indicated they have no objection to non-reporting probation.

Because this is a Class B misdemeanor, the parties have agreed the sentencing guidelines
do not apply. The parties are also in agreement that there is no sex offender registration
requirement for this misdemeanor offense.

| The undersigned defense counsel wanted to share the Defendant's background and
history with the Court for consideration at the time of sentencing. The Defendant, Michael

Haak, has no criminal history.

 

MICHAEL HAAK
| Michael Haak resides in Longwood, Florida. He lives with his wife, Kelly. He has lived
in Longwood for 20 years. Mr. Haak has two children. His daughter, age 24, works as a
subcontractor in the aviation industry. His son, 26, is a safety inspector/auditor in the
construction industry.

Mr. Haak received a Bachelor of Science degree in Aerospace Engineering from Penn
State University in 1983. In 1989, he earned his Master’s Degree in Systems Management from |

the University of Southern California. (copies of these degrees are attached hereto as Exhibit.A.
‘Mr. Haak served in the United States Air Force, attaining the rank. of Captain. While
serving our country, he received the Air foree Honorable Unit Award, Combat Readiness Medal,
National Defense Service Medal, Air Force Longevity Service Award Ribbon and Air Force

2
U.S.A. v. Haak, Michael
Case No.: 21-CR-00036-IMC
Training Ribbon. Captain Haak is also a Gulf War/Desert Storm veteran who served with
distinction as a C-141 Aircraft Commander during that conflict. He was honorably discharged.
(copy of Form DD 214 attached hereto as Exhibit B, in addition to other certificates regarding
his military service >

Mr. Haak then began his career in the airline industry He was a pilot for Southwest
Airlines for 27 years until his retirement2, He enjoyed a sterling employment and training
record. Mr. Haak was extremely dedicated to his job at Southwest and was never late in
reporting for duty during his career. | While working at Southwest he received numerous
accolades and letters. It is evident from a review of these letters that Michael Haak was a
dedicated, concerned, gracious and committed employee to Southwest Airlines. Michael Haak
has received various commendations and positive input from passengers, colleagues and staff he
interacted with during his time with Southwest Airlines. These are in the form of memorandums
or customer attestations about Michael Haak or something he participated in while flying for
Southwest Airlines. These commendations range from dealing with, a passenger’s medical
emergency, getting an aircraft ready for an incoming crew, or even offering a passenger the use
of his personal credit card to make a phone call to contact a family member. This even includes
a poem viritten by a passenger to show their gratitude, (These letters are attached hereto as
Exhibit C.)

He also donated time to his community, participating with the Seminole County Public

School system where he served as a volleyball coach for ten years. He also coached many of his

 

2 Prior to Southwest Airlines, Mr. Haak flew for Morris Airlines based in Salt Lake City as well as Horizon Airlines.
These are smaller passenger carriers.

3
U.S.A. v. Haak, Michael

Case No... 21-CR-00036-JMC

children’s sports programs as they grew up and was actively involved in their education as well.
At Southwest he also participated in the Adopt a Pilot Program where Mr. Haak would
volunteer/visit elementary schools in Seminole County providing educational opportunities in
math, science, and aviation. A Certificate of Appreciation from Seminole County Public Schools

is attached hereto as Exhibit D. |

 

Attached are also letters of recommendation from a variety of individuals who know
Michael Haak. Each letter details how they know Michael Haak personally or professionally.
Each letter describes Mr. Haak and talks about the type of person he is.

These letters are from the following:
e Letter dated April 18, 2021, from Mark Plussa.
e Letter dated April 20,2021, from. Southwest Aislines Captain Jeff Gullickson.
e Letter dated April 21, 2021, from Chris and Teresa Halliday.
e Letter dated April 22, 2021, from Mohammed LT. Bey, Chief Officer for Diversity,

Equity & Inclusion, Northeast WI Technical College.

e Letter dated April 23, 2021, from Margaret and David Graef.

e Letter dated April 23, 2021, from James R. and Silvia P. Wright.
e Letter dated April 23, 2021, from Captain Tony K. Clinton.

e Letter dated April 24, 2021, from Jerri Collins.

e Letter dated April 30, 2021, from Stephen T. Ball.

Some excerpts from these letters, attached. and incorporated. as Exhibit E, are as follows:
4
U.S.A. v. Haak, Michael
Case No.: 21-CR-00036-JMC

Stephen T. Ball, a friend and neighbor for over 15 years writes:

“{ have watched Michael coach volleyball for our children as well
as helping other kids reach their goals. As an example, my son
Casey is just this week starting as a pilot with one of American
Airlines regional carriers. Michael was instrumental in helping my
son’s dreams to become a reality by taking him flying on the
weekends and encouraging him in the pursuit of his dream.”

Jerri Collins, a friend for 15 years, writes:

“{ am familiar with the facts of the case before the court. I believe
this to be a random act of bad judgment. As you will learn, Mike
has never been in trouble with the law and has led an exemplary
life in-our community. After speaking with Mike I feel that he is
sincerely remorseful. Any punishment imposed by this court will
come secondary to the chastisement he has imposed upon himself.”

‘Mark Plussa, a fellow pilot, who has known Michael Haak for over 20 years, writes
im part:
“| was always impressed with his professionalism and work. ethic.”

“He was known for going that extra mile and the first to grab
coffee, meals or extra chocolate on these long stressful trips. His
intentions were to always let those under his supervision know
they were respected, appreciated and valued.”

Tony K. Clinton, a fellow pilot, who has known Michzel Haak for 20 years, writes:

“Mike is always the person who wants to help. He spent many
years coaching youth volleyball and his kids’ teams. Because of
Mike’s enthusiasm and tutelage, a few of his players have gone on
to play at the college level. He has earned my respect for bis
integrity, kindness and supportive nature.”
ULS.A, v. Haak, Michael
Case Now 21-CR-00036-IMC
The rest of the attached letters all echo the same sentiment as to the type of individual
Michael Haak is,
One last letter, reprinted in full, is from the Vice President of the Southwest Airlines
Pilots Association, and summarizes Michael Haak’s career with Southwest Airlines and is

attached as Exhibit F as follows:
U.S.A. v. Haak, Michael
Case No.: 21-CR-00036-IMC

  

st

SOUTHWEST AIRLINES PILETS ASSORIATION

April 26, 2021.

The Honorable J. Mark Coulsan
Magistrate Jugge

US, District Court, District of Maryland
404 West Lambare Siveat

Chambers 80

Baltimore, MD 21204

Re: Michaeltemes Mak (FEM 29005).
Dear Judge Coulson,

Southwest Airlines Pilots Assaciation (the "Assaciation’) is the certified labor bargaining unit
vepresenting the over 9,000 pilots employed by Southwest Airlines Co. {*Southwest"). The work rules
and conditions far Southwest pilots are set forth in the collective bargaining agreement negotiated
between the Association and the airline (°CBA"). The current CBA was ratified on Novamber 7, 2016, As
a condition of continued employment with Southwest, and in accordance with the provisions ofthe
Railway Labor Act, as amended, each pilot covered inthe CBA is required to become a member of the
Association.

The Asseciatian’s business records show that Michael James Haak (EEG 23895) was hired by Southwest
as apitot on January 1, 1994. He retired as a captain fram the airline on Seprember 4, 2020, Our
business records show that Captain Haak did not have any employment related issues nor complaints
for which he would have required union representation, inaddition, the Association is Informed of any
draining issues related te its pilot members, Our records also: donot show any training issues for Captain
Haak. In his 27-year career with Southwest, Captain tlaak had spotiess employment and training
ragords,

Sincerely,

Captain Michael Santoro
‘Yice Prasident

&:

Q: 244-722-4225

Bruokvley: Plaza 1 1480 Empire Central Dr., Suite 737 | Valles, TH 75287
Pheme: 216-350:9237 | Tallfraa: BUDO89-7972 | Fan: 224-250-0607 | www.swapdorg

 

 
U.S.A. v. Haak, Michael
Case No... 21-CR-00036-IMC

RETIREMENT |

Mr. Haak’s final flight with Southwest Airlines was on August 31, 2020. On that day he
received a letter from Southwest Chairman and CEO. Gary Kelly who. complimented Mr. Haak’s
years of service to Southwest Airlines. (That letter is attached hereto as Exhibit G.)

On Septeniber 25, 2020, three weeks post-retirement, Mr, Haak suffered a stroke, which
resulted in his being unable to speak for periods of time, impaired his. coordination and balance,
and resulted in his being disoriented and confused. Emergency treatment and hospitalization was
required, and Mr: Haak had to undergo a medical procedure to remove a thrombosis from his
brain. In hindsight, Mr. Haak came to understand that while still flying what he thought was
fatigue or routine illness may have actually been transient ischemic. attacks (TIA’s). These
usually result when part of the brain experiences a temporary lack of blood flow, causing things
_ Tike vision changes, confusion, altered level of consciousness or difficulty speaking Fortunately,
_Mr. Haak is doing better, but needs to remain keenly aware as to what occurred. | He sees his

doctor regularly and is monitoring what occurred. (A letter from his physician is attached hereto
as Exhibit H.)

Although the guidelines are not applicable in this case, the Court can look to the
objectives behind the 18 USC 3553 factors in considering the appropriate sentence:

No one, particularly, Michael Haak, undermines. the .seriousness of what occurred.
Michael Haak is an extraordinary individual who has led a good life, served our country, raised a

family and worked hard.
U.S.A. v. Haak, Michael
Case No.: 21-CR-00036-IMC

He has accepted responsibility for his conduct and offers no excuses. What began as a
consensual. prank at the encouragement of Mr. Haak’s co-pilot has certainly grown into
something Michael Haak never anticipated. He is sorry and remorseful for his actions. He is
hoping that this Court’s understanding of the type of life he has led will be the best indicator that
he is deserving of leniency. The embarrassment and resulting publicity of this incident has in
and of itself been humbling to Michael Haak and has served as punishment in many ways.

To suggest that Michael Haak has not been deterred or to punish him more severely
would be to ignore his lifetime of hard work and kindness. There is no reason to believe he
would ever again (as he had not his entire adult life) engage in any criminal conduct. The public
does not have to be protected from Michael Haak. His years of good living, family values and
service to our country and Southwest Airlines clearly demonstrates that. | |

Michael Haak’s history and characteristics are a “cornerstone of the sentencing factors. It
means a life well lived counts.”3 Itis respectfully submitted that Michael Haak has lived a good
life and is asking this Court to judge him by the way he has lived and not just the facts of this
incident. |

Based on the specific and unique facts of this case, the Defendant, Michael Haak, is
asking. this Court to adopt the recommendation of the Government and impose a sentence

involving a fine and if deemed appropriate, a term of unsupervised probation.

 

 

3 Comments of The Honorable Katherine Hayden in United States v, David Grober, 595 F, Supp. 2d 382 (D. NJ.
20038),
9
U.S.A. v. Haak, Michael -
Case No,: 21-CR-00036-JMC
[HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished,
by electronic transmission via CM/ECF, to Michael Cunningham, Assistant United States
Attorney, 56 S. Charles Street, Suite 400, Baltimore, Maryland 21201-3119, and to Melissa
McGuiness, Senior United States Probation Officer, Investigation Specialist, Baltimore,
Maryland, via e-mail: melissa.moginnessmdp.uscourts.gov, this 25th day of May, 2021.
Respectfully submitted,
LAW OFFICES OF SALNICK & FUCHS, P.A.
1645 Palm Beach Lakes Boulevard
Suite 1000 (10 Floor)
West Palm Beach, Florida 33401-5014

Telephone: (561) 471-1000
Facsimile: (561) 659-0793

/s/ Michael Salnick
MICHAEL SALNICK, Fla. Bar #270962
Admitted Pro Hae Vice

Attachments

10
